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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
GLENN ALTO, EDWARD CONNOLLY in
his individual capacity and as trustee of the
Connolly 2014 Grantor Retained Annuity Trust,
and LEWIS WILLIAM WATERS in his
individual capacity and as trustee of the Lewis
William Waters III 2014 Qualified Annuity Trust

                                   Plaintiff,                         19 CIVIL 9758 (GHW)

                 -against-                                                 JUDGMENT

SUN PHARMACEUTICAL INDUSTRIES, INC.,

                                    Defendant.
--------------------------------------------------- --------X

       It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated October 13, 2021, the Court has

found that many of the positions taken by Plaintiffs in this case were not worthy of belief. Certain

Plaintiffs—particularly Alto—made factual statements to the Court in this litigation that were

contradicted by their own contemporaneous statements and the testimony of credible witnesses. As a

result, the Court has found that they are not entitled to much of the relief that they sought in this case.

At the end of the day, however, they are entitled to partial judgment in their favor with respect to the

Last Man Standing provision because the plain text of the relevant agreement requires it.

       Judgment is entered in favor of Plaintiffs as to Counts II and III and, in favor of Defendant on

Counts IV, V, and VI. Judgment is entered for Plaintiffs in the amount of $3,125,000, plus

prejudgment interest calculated at 9% per annum from March 21, 2019 through the date of

judgment (Milestone four), in the amount of $722,773.97, and $3,125,000, plus prejudgment interest

calculated at 9% per annum from July 12, 2019 through the date of judgment (Milestone six), in the

amount of $635,702.05. Post-judgment interest shall accrue at the statutory rate pursuant to 28
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U.S.C. § 1961 from the date judgment is entered until payment is made in full; accordingly, this case

is closed.


Dated: New York, New York
       October 14, 2021




                                                                 RUBY J. KRAJICK
                                                             _________________________
                                                                    Clerk of Court
                                                      BY:
                                                             _________________________
                                                                    Deputy Clerk
